       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                       JUDGMENT RENDERED AUGUST 20, 2024



                                    NO. 03-24-00009-CV


                                  David C. Goad, Appellant

                                               v.

                                   Dean R. Smith, Appellee




      APPEAL FROM COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY
            BEFORE JUSTICES BAKER, SMITH, AND THEOFANIS
    DISMISSED FOR WANT OF PROSECUTION -- OPINION BY JUSTICE SMITH




This is an appeal from the judgment signed by the trial court on December 5, 2023. Having

reviewed the record, the Court holds that David C. Goad has not prosecuted his appeal and did

not comply with a notice from the Clerk of this Court. Therefore, the Court dismisses the appeal

for want of prosecution. Because appellant is indigent and unable to pay costs, no adjudication

of costs is made.
